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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

Tyler Gischel,                               )   Case No. 1:17-cv-00475
                                             )
       Plaintiff,                            )   Judge Susan J. Dlott
                                             )
       vs.                                   )   JOINT MOTION FOR
                                             )   MODIFICATION OF SCHEDULING
University of Cincinnati, et al.,            )   ORDER AND SCHEDULING
                                             )   CONFERENCE
       Defendants.                           )


       The parties hereby jointly move to modify the Court’s scheduling order, entered

on March 8, 2018. The parties have conducted written discovery and have produced a

substantial number of documents. However, the parties are also working through

several additional discovery issues and need additional time to accomplish discovery in

this matter. Specifically, Plaintiff has requested a substantial number of documents

relating to past Title IX claims and investigations at the University of Cincinnati (“UC”).

The parties recognize that the documentation requested is not only voluminous, but

includes documents that, if produced, will require UC to send out a significant number

of notifications to students under the Family Educational Rights and Privacy Acts (20

U.S.C. § 1232g; 34 CFR Part 99). The parties are continuing to cooperate in an effort to

both provide Plaintiff the relevant and responsive information requested, and to

minimize to the degree possible the burden on UC of producing the information.

       Therefore, the Parties request a scheduling conference to address the discovery

issues and determine a new schedule. Until such time as a new schedule is entered, the

parties request a stay of the pending deadlines in the case.
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Respectfully submitted,

/s/ Eric K. Combs                                /s/ Eric J. Rosenberg
Erick K. Combs                                   Eric J. Rosenberg
Andrew B. Cassady                                Tracy L. Turner
DINSMORE & SHOHL LLP                             ROSENBERG & BALL CO., LPA
255 East Fifth Street, Suite 1900                395 N. Pearl Street
Cincinnati, Ohio 45202                           Granville, Ohio 43023
eric.combs@dinsmore.com                          eric.rblaw@gmail.com
andrew.cassady@dinsmore.com                      tracy.rblaw@gmail.com

Counsel for Defendants                           Counsel for Plaintiff




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